        Case 1:16-cv-02100-PAC-SN Document 91 Filed 10/27/20 Page 1 of 1

                                                                   USDC SDNY
                                                                   DOCUMENT
                                                                   ELECTRONICALLY FILE
                                                                   DOC #:       _________________
UNITED STATES DISTRICT COURT                                       DATE FILED: 10/27/2020
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------X
Mohammed Anwarul Islam et al,


                                                                        16cv2100 (PAC)
                          Plaintiff,                                ORDER OF DISMISSAL

        -against-

Tribute Hospitality Group LLC et al,

                           Defendants.
----------------------------------------------------------X

HONORABLE PAUL A. CROTTY, United States District Judge:

        The Court having been advised that the Plaintiffs are currently attempting to collect from

Defendants based on the default judgment, it is,

        ORDERED, that the above-entitled action be and hereby is dismissed against Tribute

Hospitality Group LLC, Tribeca Canvas New Inc, and Tribeca Canvas LLC, with prejudice and

costs to either party. The Clerk of Court is directed to terminate the pending motions, deadlines,

conferences, and this case.




Dated: New York, New York
       October 27, 2020                                       SO ORDERED

                                                              ___________________________
                                                              PAUL A. CROTTY
                                                              United States District Judge
